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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

         Debtors.                                                  (Jointly Administered)



ALAMEDA RESEARCH LLC, FTX
TRADING LTD., WEST REALM SHIRES,
INC., AND WEST REALM SHIRES
SERVICES INC. (D/B/A FTX.US),

         Plaintiffs,
                                                                   Adv. Pro. No. 23-50419 (JTD)
         v.

DANIEL FRIEDBERG,

         Defendant.


                       STIPULATION FOR AN EXTENSION OF TIME FOR
                          DEFENDANT TO RESPOND TO COMPLAINT

         Plaintiffs, Alameda Research LLC, FTX Trading Ltd., West Realm Shires, Inc., and West

Realm Shires Services Inc. (d/b/a FTX.US) (the “Plaintiffs”), and Defendant Daniel Friedberg (the

“Defendant” and, together with the Plaintiffs, the “Parties”), by and through their respective

undersigned counsel, enter into this Stipulation for an Extension of Time for Defendant to Respond

to Complaint (the “Stipulation”) and hereby stipulate and agree as follows:




1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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         1.       On June 27, 2023, the Plaintiffs initiated the above-captioned adversary proceeding

by filing the Complaint [Adv. D.I. 1] (the “Complaint”).

         2.       On July 7, 2023, the Defendant executed a Waiver of the Service of Summons [Adv.

D.I. 6], agreeing to accept and waive his objections, if any, to service of process. The Defendant’s

deadline to respond to the Complaint is September 15, 2023.

         3.       The Parties have conferred regarding an agreement to extend the Defendant’s

response deadline.

         4.       The Defendant’s deadline to respond to the Complaint shall be extended through

and including October 4, 2023.

         5.       This Stipulation is without prejudice to the rights of the Parties to seek a further

extension and/or continuance as appropriate.




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Dated: September 27, 2023

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